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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS                                                                                     NO. 11-70

EUGENE THOMPSON                                                                          SECTION I


                                      ORDER AND REASONS

           Before the Court is a motion 1 filed by defendant, Eugene Thompson (“Thompson”), to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. The government filed an

opposition on April 15, 2015. 2

           Also before the Court is a motion for an evidentiary hearing 3 which Thompson filed

under the mistaken belief that the government did not timely file a response as ordered by the

Court. 4

           For the following reasons, the Court finds that an evidentiary hearing is not required, the

motions are DENIED, and defendant’s post-conviction application is DISMISSED WITH

PREJUDICE.




1
  R. Doc. No. 675.
2
  R. Doc. No. 679.
3
  R. Doc. No. 360.
4
  R. Doc. No. 360, at 2 (“As the Government continues to fail to respond Petitioner requests that
in the place of the response an evidentiary hearing can be held. Petitioner contends that sufficient
facts are supported to validate a hearing on his § 2255.”). The motion is styled as a motion for
default judgment pursuant to Rule 55 of the Federal Rules of Civil Procedure, but Thompson
states that he “understands that a default judgment is not the proper remedy when the
Government fails to respond to a habeas petition,” and he requests an evidentiary hearing as an
alternative. R. Doc. No. 360, at 2. Because Thompson’s motion for an evidentiary hearing
proceeds from the faulty premise that the government failed to file a response, and because the
Court finds that an evidentiary hearing is not required, Thompson’s motion for an evidentiary
hearing is without merit.
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                                        BACKGROUND

       On December 13, 2011, Thompson was convicted by a jury of all 4 counts of a 4 count

superseding indictment. 5 Count 1 charged that Thompson conspired with others to distribute and

to possess with the intent to distribute 280 grams or more of cocaine base (“crack”) and a

quantity of cocaine hydrocholoride in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A),

841(b)(1)(C), and 846. 6 Count 2 charged that on or about March 2, 2011, Thompson, aided and

abetted by others, knowingly and intentionally possessed with the intent to distribute 280 grams

or more of cocaine base (“crack”) and a quantity of cocaine hydrocholoride in violation of 21

U.S.C. § 841(a)(1), (b)(1)(A), and (b)(1)(C), and 18 U.S.C. § 2. 7 Count 3 charged that on or

about March 2, 2011, Thompson, aided and abetted by others, knowingly possessed a firearm,

i.e., an assault rifle, in furtherance of the drug trafficking crime charged in count 2, in violation

of 18 U.S.C. §§ 924(c)(1)(A)(i) and 2. 8 Count 4 charged that on or about March 2, 2011,

Thompson, having previously been convicted of a felony, knowingly possessed in and affecting

interstate commerce the same assault rifle described in count 3, in violation 18 U.S.C.

§§ 922(g)(1) and 924(a)(2). 9 Prior to trial, the government also filed a bill of information




5
  See R. Doc. Nos. 127, 138, 138-2. The Court notes that Thompson was initially charged along
with five other co-defendants in a 10-count indictment. R. Doc. No. 36. Thompson was charged
in counts 1, 8, and 9 of the original indictment, and such counts were substantially similar to
counts 1, 2, and 3 of the superseding indictment. Compare R. Doc. No. 36, at 1-2, 4-5, with R.
Doc. No. 127, at 1-2. The superseding indictment was filed on December 8, 2011, four days
before the beginning of trial. R. Doc. No. 127.
        The Court further notes that Thompson’s five codefendants all pled guilty to various
counts prior to Thompson’s trial. See, e.g., R. Doc. No. 203, at 3-4. Three of Thompson’s
codefendants testified at his trial. See, e.g., R. Doc. No. 138, at 1.
6
  R. Doc. No. 127, at 1-2.
7
  R. Doc. No. 127, at 2.
8
  R. Doc. No. 127, at 2.
9
  R. Doc. No. 127, at 3.

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alleging a prior felony conviction and requesting an enhanced penalty pursuant to 21 U.S.C.

§ 851(a). 10

        On May 10, 2012, the Court sentenced Thompson to a total term of imprisonment of 300

months, consisting of 240 months as to each of counts 1 and 2, and 120 months as to count 4, to

be served concurrently, and 60 months as to count 3, to be served consecutively to each of the

other terms of imprisonment. 11 The sentences imposed with respect to counts 1, 2, and 3 were

the mandatory minimum sentences prescribed by statute. 12

        Thompson appealed his conviction and sentence, challenging (1) this Court’s rulings with

respect to Batson challenges during voir dire, and (2) this Court’s denial of Thompson’s motion

for a judgment of acquittal based on insufficient evidence. 13 The U.S. Court of Appeals for the

Fifth Circuit affirmed the judgment against Thompson on January 15, 2014, 14 and the U.S.

Supreme Court denied certiorari on May 27, 2014. 15 The government does not challenge the

timeliness of Thompson’s § 2255 motion.

                                    STANDARD OF LAW

        I.     28 U.S.C. § 2255

        Section 2255(a) provides a prisoner in custody with four grounds upon which relief may

be granted: (1) “that the sentence was imposed in violation of the Constitution or laws of the

United States;” (2) “that the court was without jurisdiction to impose such sentence;” (3) “that

the sentence was in excess of the maximum authorized by law;” or (4) that the sentence “is

otherwise subject to collateral attack.” 28 U.S.C. § 2255(a); see Hill v. United States, 368 U.S.

10
   R. Doc. No. 129.
11
   R. Doc. No. 220, at 2.
12
   See, e.g., R. Doc. No. 203, at 3.
13
   See R. Doc. No. 309.
14
   R. Doc. No. 309; United States v. Thompson, 735 F.3d 291 (5th Cir. 2013).
15
   R. Doc. No. 314; Thompson v. United States, 134 S. Ct. 2663 (2014).

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424, 426-27 (1962). Section 2255 is designed to remedy constitutional errors and other injuries

that could not be brought on direct appeal and would result in injustice if left unaddressed. See

United States v. Williamson, 183 F.3d 458, 462 (5th Cir. 1999). “[A] proceeding under Section

2255 is an independent and collateral inquiry into the validity of the conviction . . . .” United

States v. Hayman, 342 U.S. 205, 222-23 (1952). The inquiry does not extend to the

misapplication of sentencing guidelines. See Williamson, 183 F.3d at 462.

       “The § 2255 remedy is broad and flexible, and entrusts to the courts the power to fashion

an appropriate remedy.” United States v. Garcia, 956 F.2d 41, 45 (4th Cir. 1992) (citing Andrews

v. United States, 373 U.S. 334, 339 (1963)). Pursuant to § 2255, the Court must grant a defendant

a hearing to determine the issues and make findings of fact and conclusions of law unless “the

motion, files, and records of the case conclusively show that the prisoner is entitled to no relief.”

United States v. Bartholomew, 974 F.2d 39, 41 (5th Cir. 1992).

       “The Supreme Court has emphasized repeatedly that a collateral challenge may not do

service for an appeal.” United States v. Shaid, 937 F.2d 228, 231 (5th Cir. 1991) (quotation

omitted). “[T]he general rule [is] that claims not raised on direct appeal may not be raised on

collateral review unless the petitioner shows cause and prejudice” or actual innocence. Massaro

v. United States, 538 U.S. 500, 504 (2003); Bousley v. United States, 523 U.S. 614, 622 (1998).

The Supreme Court has held that “failure to raise an ineffective-assistance-of-counsel claim on

direct appeal does not bar the claim from being brought” in a § 2255 proceeding. Massaro, 538

U.S. at 509; see also, e.g., United States v. Johnson, 124 F. App’x 914, 915 (5th Cir. 2005).

       II.     Ineffective Assistance of Counsel

       The United States Supreme Court set forth the standard for judging the performance of

counsel in Strickland v. Washington, 466 U.S. 668 (1984). In Strickland, the Court articulated a



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two-part test that requires the petitioner to prove (1) deficient performance and (2) resulting

prejudice. Id. at 697.

        Deficient performance is established by “show[ing] that counsel’s representation fell

below an objective standard of reasonableness.” Id. at 688. In applying this standard, a “court

must indulge a ‘strong presumption’ that counsel’s conduct falls within the wide range of

reasonable professional assistance because it is all too easy to conclude that a particular act or

omission of counsel was unreasonable in the harsh light of hindsight.” Bell v. Cone, 535 U.S.

685, 702 (2002) (quoting Strickland, 466 U.S. at 689).

        The second prong of the Strickland test looks to the prejudice caused by counsel’s

allegedly deficient performance. This requires “a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Strickland, 466

U.S. at 694. In the context of alleged trial errors, the petitioner must show that his “counsel’s

errors were so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”

Id. at 687.

        The petitioner must satisfy both prongs of the Strickland test to be successful on an

ineffective assistance claim. See id. at 697. A court is not required to address these prongs in any

particular order. Id. If it is possible to dispose of an ineffective assistance of counsel claim

without addressing both prongs, “that course should be followed.” Id.

                                          DISCUSSION

        Thompson has asserted five grounds for relief, all of which relate to alleged ineffective

assistance of counsel at different stages of Thompson’s case. The Court addresses Thompson’s

asserted grounds for relief in turn.




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       I.      Plea Bargaining

       Thompson contends that his trial attorney, Marion Floyd (“Floyd”), provided

constitutionally deficient counsel by advising Thompson to reject a plea offer. 16 Thompson states

that “[t]he plea agreement the Government discussed with Counsel would have made it possible

for the Movant to enter a plea of guilty to one Count of a violation of Title 18 U.S.C. § 922(g) 17

possession of a firearm by a convicted felon.”

       Floyd allegedly advised Thompson that there was “insufficient evidence to support a

conviction,” “that the evidence of cooperating co-defendants would not be allowed,” and that the

government did not “have any other evidence such as controlled buys, audio or video

evidence.” 18 Thompson complains that by rejecting a plea offer pursuant to Floyd’s advice,

Thompson’s “sentenc[ing] exposure went from a maximum sentence of 10 years to a maximum

sentence of life. Counsel’s error increased the Movant’s sentence by 20 years.” 1920 Thompson

states in an affidavit that he “would have taken the plea agreement offered by the Government if

not for the bad advi[c]e Counsel Floyd offered.” 21




16
   R. Doc. No. 346, at 11-13. The Court notes that the government does not contest the existence
of a plea offer or the fact that Floyd communicated that offer to Thompson.
17
   See 18 U.S.C. § 924(a)(2) (“Whoever knowingly violates subsection . . . (g) . . . of section 922
shall be fined as provided in this title, imprisoned not more than 10 years, or both.”).
18
   R. Doc. No. 346, at 11 (internal quotation marks omitted); see also R. Doc. No. 346, at 44
(“Counsel told me that anything my co-defendant could testify to would be inadmissible and
would be here say [sic].”).
19
   R. Doc. No. 346, at 11.
20
   R. Doc. No. 346, at 11 (emphasis omitted).
21
   R. Doc. No. 346, at 28, 44. Thompson has also submitted the affidavits of three individuals
who communicated with Floyd “at least 10 times” prior to trial regarding Thompson’s case. R.
Doc. No. 346, at 31-33. Although they state that Floyd advised them of the plea offer and that
“[Floyd] advised to not take the offer because [Thompson] was his first client in which [t]here
was not evidence to his guilt,” the affidavits do not address whether Thompson expressed any
opinion regarding the offer or whether Thompson disagreed with or had concerns about Floyd’s
advice to reject it. R. Doc. No. 346, at 31-33.

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       “During plea negotiations defendants are ‘entitled to the effective assistance of competent

counsel.’” Lafler v. Cooper, 132 S. Ct. 1376, 1384 (2012) (quoting McMann v. Richardson, 397

U.S. 759, 771 (1970)). In Lafler, the U.S. Supreme Court described “how to apply Strickland’s

prejudice test where ineffective assistance results in a rejection of the plea offer and the

defendant is convicted at the ensuing trial.” Id.; United States v. Rivas-Lopez, 678 F.3d 353, 357

(5th Cir. 2012).

       As stated by the U.S. Supreme Court:

       [A] defendant must show that but for the ineffective advice of counsel there is a
       reasonable probability that the plea offer would have been presented to the court
       (i.e., that the defendant would have accepted the plea and the prosecution would
       not have withdrawn it in light of intervening circumstances), that the court would
       have accepted its terms, and that the conviction or sentence, or both, under the
       offer’s terms would have been less severe than under the judgment and sentence
       that in fact were imposed.

Lafler, 132 S. Ct. at 1385; accord Rivas-Lopez, 678 F.3d at 357.

       Even assuming for the sake of argument that a plea offer as described by Thompson was

in fact offered by the government, 22 the Court need not address the first Strickland prong because

Thompson has failed to satisfy his burden of demonstrating Strickland prejudice. Thompson may

now, with twenty-twenty hindsight, wish that he had chosen to plead guilty to a crime that he

contends he did not commit, but Thompson has not shown that “there is a reasonable probability

. . . that [he] would have accepted the plea . . . but for the ineffective advice of counsel.” Lafler,

132 S. Ct. at 1385. Thompson does not admit, and he has never admitted, his guilt to count 4

which is the § 922(g) charge. Thompson challenged the sufficiency of the evidence against him

on direct appeal, 23 and Thompson’s fourth and fifth asserted grounds for relief, discussed below,



22
   In its brief, the government does not specifically admit or deny the existence of a plea offer.
See R. Doc. No. 359, at 4-5.
23
   See R. Doc. No. 309, at 15-17.

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are further challenges to the evidence connecting him to the firearm. 24 The Court also notes that

Thompson has attached to his § 2255 motion a letter to Floyd dated July 16, 2012, in which

Thompson stated: “You [know] all i can play in my head is that i [know] i am innocent and my

law[y]er [knows] i am.” 25 Such statements demonstrate that Thompson continued to maintain his

innocence after trial and during the pendency of his appeal. 26 Moreover, there is language

throughout Thompson’s memorandum which clearly indicates that he continues to believe he is

innocent. 27

        Despite Thompson’s post-hoc assertion in his affidavit that he would have pled guilty but

for Floyd’s advice, 28 the Court finds that it does not need to conduct an evidentiary hearing to

resolve Thompson’s claim. “Conclusory allegations, unsubstantiated by evidence, do not support

the request for an evidentiary hearing.” United States v. Reed, 719 F.3d 369, 373 (5th Cir. 2013)

(citing United States v. Auten, 632 F.2d 478, 480 (5th Cir. 1980)). “A defendant is entitled to an

evidentiary hearing on his § 2255 motion only if he presents ‘independent indicia of the likely




24
   See R. Doc. No. 346, at 19; see also R. Doc. No. 346, at 16 (mentioning “the ‘alleged’
admission on the assault rifle” in connection with ground three).
25
   R. Doc. No. 346, at 50 (errors in original) (emphasis added).
26
   The Court furthers notes that Thompson’s sole statement on his own behalf at his sentencing
hearing was “I regret from giving Kennedy a ride.” R. Doc. No. 288, at 8.
27
   E.g., R. Doc. No. 346, at 11 (“Movant was detained after being with an[] individual that was
making a pickup of narcotics in a buy and bust from Police and DEA agents.”); R. Doc. No. 346,
at 16 (noting the “lack of [evidence] placing a specific weapon in the hand of the Movant at any
time, except the ‘alleged’ admission on the assault rifle found in Kelly’s residence”); R. Doc.
No. 346, at 21 (“Besides the single ‘utterance’ there was no evidence linking the Movant to [the]
specific firearm and nothing except in [sic] general non-specific testimony that was highly
suspect.”); R. Doc. No. 346, at 24 (“The Movant contends a miscarriage of justice has occurred.
Movant was arrested and jailed without cause. . . . Agents in the employ of the Government
constructed a case that was built by smoke and mirrors obtaining a conviction for a man that is
only guilty of associating with persons who were engaged in the sale of narcotics. Guilt by
association i[s] not a crime in the United States.”) (emphasis omitted).
28
   R. Doc. No. 346, at 28, 44.

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merit of [his] allegations.’” Id. (quoting United States v. Cavitt, 550 F.3d 430, 442 (5th Cir.

2008)); see also United States v. Arledge, 597 F. App’x 757, 759 (5th Cir. 2015).

        In Reed, the defendant claimed in his § 2255 motion “that his trial counsel was

ineffective in failing to properly advise him on the sentence he would have faced had he accepted

the government’s plea offer.” 719 F.3d at 371. The district court denied the defendant’s motion

without an evidentiary hearing, stating that “[t]he only evidence Reed offers the Court in

conjunction with this allegation [is] his self-serving and uncorroborated account of his

discussions with his counsel.” Id. at 372.

        The Fifth Circuit vacated the district court’s order and remanded the case for an

evidentiary hearing. Id. at 375. With respect to Strickland’s deficient performance prong, the

Fifth Circuit stated that “[i]n his affidavit, [the defendant] makes a specific factual claim based

on personal knowledge,” and that such “affidavit was sufficient to prove his allegation and was

not speculative, conclusory, plainly false, or contradicted by the record.” Id. at 374. Although

“[t]he district court did not address the issue of prejudice,” the Fifth Circuit found that an

evidentiary hearing was also required as to that Strickland prong because the defendant stated

that “he would have pleaded guilty if he had been given an accurate picture of his sentencing

exposure.” Id. at 375. “Reed states that he was offered a plea deal in which he would plead guilty

to only one count involving counterfeit Louis Vuitton products. Reed did not assert innocence as

to this count, and in fact admitted at trial that he knew these products were counterfeit.” Id. The

Fifth Circuit found that “[i]t is not difficult to conclude that Reed would plead guilty to conduct

he was willing to admit at trial.” Id.

        Thompson’s case is distinguishable from Reed. As discussed above, Thompson has

offered nothing to suggest that he was “willing to admit the conduct underlying the count that



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was the subject of the plea offer.” Reed, 719 F.3d at 375. Conversely, the defendant in Reed was

entitled to an evidentiary hearing with respect to Strickland prejudice because he “did not assert

innocence as to this count, and in fact admitted at trial . . . the conduct underlying the count that

was the subject of the plea offer.” Id. Thompson does not attempt to explain or address his

continued assertions of innocence, and his one-sentence statement in his affidavit that he would

have accepted the plea offer is “conclusory,” “unsubstantiated by evidence,” lacking in any

corroborating “independent indicia of the likely merit of [his] allegations,” and “contradicted by

the record.” Id. at 373-74 (internal quotation marks omitted) (alteration in original). Accordingly,

Thompson is not entitled to an evidentiary hearing regarding this issue. 29

        II.    Appeal

        Thompson contends that he received ineffective assistance of counsel in connection with

his direct appeal. 30 “The entitlement to effective assistance does not end when the sentence is

imposed, but extends to one’s first appeal of right.” Williamson, 183 F.3d at 462; see also United

States v. Reinhart, 357 F.3d 521, 525, 530 (5th Cir. 2004). Appellate counsel’s performance is

evaluated under the same Strickland standard as trial counsel’s performance. Williamson, 183

F.3d at 462. “To prevail, [the defendant] must establish, first, that his attorney’s representation

was deficient and, second, that the deficient performance caused him prejudice.” Id.




29
   The Court further notes that Thompson has offered no evidence or argument that could sustain
his burden of demonstrating that the Court would have accepted the terms of the plea agreement.
Lafler, 132 S. Ct. at 1385. In order to “enter[] judgment on a guilty plea,” this Court would,
among other things, have had to “determine that there is a factual basis for the plea.” Fed. R.
Crim. P. 11(b)(3). As discussed above, Thompson has consistently maintained his innocence.
There is nothing in the record to suggest that Thompson would have admitted to and signed a
factual basis and, therefore, nothing to suggest “that the court would have accepted [the] terms”
of any plea offer. Lafler, 132 S. Ct. at 1385.
30
   R. Doc. No. 346, at 13-17.

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         With respect to the deficient performance prong in the appellate context, the Fifth Circuit

has stated that “[c]ounsel does not need to ‘raise every nonfrivolous ground of appeal available.’

Nonetheless, a reasonable attorney has an obligation to research relevant facts and law, or make

an informed decision that certain avenues will not prove fruitful.” Id. (citation and footnote

omitted) (quoting Green v. Johnson, 160 F.3d 1029, 1043 (5th Cir. 1998)). “Solid, meritorious

arguments based on directly controlling precedent should be discovered and brought to the

court’s attention.” Id. at 463.

         With respect to the prejudice prong, the defendant must demonstrate that “there is a

reasonable probability that, but for counsel’s unprofessional error[], the result of the proceeding

would have been different.” Id. (quoting Jones v. Jones, 163 F.3d 285, 302 (5th Cir. 1998))

(alteration in original) (internal quotation marks omitted). “A reasonable probability is that

which renders the proceeding unfair or unreliable, i.e., undermines confidence in its outcome.”

Id.

         Appellate counsel’s “failure to raise a meritless argument [] cannot form the basis of a

successful ineffective assistance of counsel claim because the result of the proceeding would not

have been different had the attorney raised the issue.” United States v. Kimler, 167 F.3d 889, 893

(5th Cir. 1999); see also Medellin v. Dretke, 371 F.3d 270, 279 (5th Cir. 2004) (“Because the

claim . . . is without merit, the claim of ineffective assistance of counsel for not raising the issue

on appeal is, likewise, without merit.”); Smith v. Puckett, 907 F.2d 581, 585 n.6 (5th Cir. 1990)

(“Counsel is not deficient for, and prejudice does not issue from, failure to raise a legally

meritless claim.”).

         Thompson contends that “Counsel Floyd should have raised on appeal the lack of

evidence to support any findings on drug weight” and that there was an “obvious lack of



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evidence [for] the § 924(c)(1) conviction.” 31 Thompson also asserts that “[i]t would be

impossible for the Court or the jury to determine a drug quantity attributable to the movant by

the [presentence report (“PSR”)] prepared by the Probation Department and adopted by the

Court.” 32 Thompson further asserts that at sentencing, “the Court[] neglected in any meaningful

way to articulate the factors set forth in Title 18 U.S.C. § 3553(a),” and that Floyd should have

raised this issue on appeal. 33

        With respect to the sufficiency of the evidence, the Court notes that as the Fifth Circuit

stated on Thompson’s direct appeal, “[r]eviewing the sufficiency of the evidence is not about

whether the outcome was correct but merely whether the verdict was reasonable.” 34 Thompson,

735 F.3d at 301 (citing United States v. Williams, 264 F.3d 561, 576 (5th Cir. 2001)). On direct

appeal, Thompson “claim[ed] there was no evidence connecting him to the conspiracy other than

the testimony of the co-conspirators.” Id. at 302. The Fifth Circuit noted that such evidence “may

be constitutionally sufficient evidence to convict,” and it held that “[a] rational trier of fact could

find Thompson was a voluntary participant in a drug conspiracy.” 35 Id. (internal quotation marks

omitted).



31
   R. Doc. No. 346, at 16 (emphasis omitted).
32
   R. Doc. No. 346, at 16. Thompson also states that “[t]he evidence the Government presented
and used was generally false information.” R. Doc. No. 346, at 17. However, the jury heard two
days of testimony and it was in the best position to evaluate the veracity of the evidence that it
considered. This argument is more fully addressed in connection with ground five.
33
   R. Doc. No. 346, at 16 (emphasis omitted). Thompson objects that the Court’s “explanation
was why it was not imposing a sentence instead of why it was imposing it,” referring to an
outburst during the sentencing hearing. R. Doc. No. 346, at 16. During the sentencing hearing,
there was a disruption by a woman who identified herself as Thompson’s daughter, and the Court
had her temporarily detained. R. Doc. No. 288, at 9. The Court emphasized to Thompson that her
outburst was “not being held against you.” R. Doc. No. 288, at 9.
34
   R. Doc. No. 309, at 15.
35
   Thompson objects that there was not “any evidence against [him] stating that he was a leader,
organizer, manager, etc. yet the court found him guilty of being responsible for the conspiracy.”
R. Doc. No. 346, at 4 (capitalization altered). Thompson’s argument mirrors the language found

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       Thompson also asserted on direct appeal that there was insufficient evidence with respect

to count 3, the § 924(c) charge, because “no one put[] a weapon in [his] hand or in immediate

proximity to him.” Id. (internal quotation marks omitted). However, as the Fifth Circuit noted:

       Contrary to Thompson’s assertion, testimony demonstrates that Thompson
       owned, carried, and used weapons in furtherance of the conspiracy. Per the
       testimony of DEA Agents Salvador Scalia and Jamey Tarrh, Thompson, shortly
       after being arrested, admitted to owning a loaded assault weapon found near the
       seized crack cocaine and money. [Co-defendants] Kelly and Pipkins also testified
       that Thompson carried a weapon during drug deals. In fact, Thompson was known
       as a “trigger man.”

Id. The Fifth Circuit stated that “[p]hysical evidence further corroborated that testimony” and

found that the evidence was sufficient with respect to the § 924(c) count. Id.

       With respect to the drug quantities attributable to Thompson, the jury determined that he

was responsible for two hundred eighty (280) grams or more of cocaine base (“crack”).36

Although the Fifth Circuit did not specifically mention drug quantities in its opinion, the record

reflects that there was sufficient evidence to allow the jury to make its factual finding that

Thompson was responsible for 280 grams or more of crack cocaine. 37 Thompson received the

minimum mandatory sentence required by statute based on such quantity. 38



in the PSR regarding his role assessment under the U.S. Sentencing Guidelines, and the Court
notes that the PSR also stated that “Thompson’s role cannot be considered minor.” R. Doc. No.
203, ¶ 51. That paragraph of the PSR is irrelevant for the purposes of considering whether
Thompson was guilty of conspiracy pursuant to 21 U.S.C. § 846. As stated in the Fifth Circuit
Pattern Jury Instructions (Criminal) § 2.89 (2012), “If a defendant understands the unlawful
nature of a plan or scheme and knowingly and intentionally joins in that plan or scheme on one
occasion, that is sufficient to convict him for conspiracy even though the defendant had not
participated before and even though the defendant played only a minor part.”
36
   R. Doc. No. 138-2, at 2.
37
   E.g., R. Doc. No. 287, at 57-59 (testimony of Albert Kelly) (Q: What type of drugs did he
[Thompson] ask you for? A: Crack cocaine. . . . Q: So you fronted the drugs to him? A: Yes, sir.
Q: How much, do you remember? A: Probably two ounces, two and a quarter ounce. Q: And, at
some point in time, did he pay you back for that? A: Yes, sir. Q: How much? A: $1,800. Q: Did
you continue to give him drugs? A: Yes, sir. Q: For how long? A: Probably a year. Q: A year?
So this began in 2010? A: Yes, sir. Q: Up until about 2011? A: Yes, sir. Q: Up until the time of

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       With respect to sentencing, the Court stated that it “considered all the Section 3553

factors”; 39 it discussed on the record Thompson’s criminal history, family, and health issues; 40

and it explained that the 240-month sentence as to counts 1 and 2 “is a restricted range” based on

the statutory minimum, and that a 60-month sentence as to count 4 “must [be] consecutive

pursuant to statute.” 41 The Court then entered the mandatory minimum sentence required by

statute. Accordingly, any appeal based on this Court’s sentencing decision would have been

frivolous because the Court satisfied its duty to “state in open court the reasons for its imposition

of the particular sentence.” 18 U.S.C. § 3553(c).




your arrest? A: Yes, sir. Q: You would give him what quantity of drugs? A: Two ounces, two
and a quarter ounces. Q: How often? A: Once, twice a week. Q: Once or twice a week? A: Yes,
sir. Q: For about a year? A: Yes, sir. Q And how much would he pay you for these drugs? A
$1,800.”); R. Doc. No. 287, at 65 (“Q: Was he [Thompson] also involved in your drug
trafficking activities? A: Yes, sir. Q: When you say we were all together, are you saying you
were all together involved in drug trafficking activities? A: Yes, sir. Q: And who were we all?
Who is we all? A: Eugene Thompson, Lawrence Cavelier, Gemayal Pipkins.”).
38
   In cases involving “280 grams or more of a mixture or substance . . . which contains cocaine
base,” “any person who violates [§ 841(a)] shall be sentenced . . . to a term of imprisonment
which may not be less than 10 years or more than life.” 21 U.S.C. § 841(b)(1)(A). However, the
statute also provides that “[i]f any person commits such a violation after a prior conviction for a
felony drug offense has become final, such person shall be sentenced to a term of imprisonment
which may not be less than 20 years and not more than life imprisonment.” Id. Because
Thompson “pled guilty to the charge of using a telephone to facilitate a drug trafficking crime”
and such conviction was final, Thompson was subject to the increased mandatory minimum
sentence. R. Doc. No. 129. The Court imposed such mandatory minimum sentence in connection
with counts 1 and 2 of the superseding indictment. R. Doc. No. 220, at 2.
39
   R. Doc. No. 288, at 10.
40
   R. Doc. No. 288, at 8-9; cf. 18 U.S.C. § 3553(a)(1) (directing courts to consider “the nature
and circumstances of the offense and the history and characteristics of the defendant”).
41
   R. Doc. No. 288, at 7; see also USSG § 5G1.1(b) (“Where a statutorily required minimum
sentence is greater than the maximum of the applicable guideline range, the statutorily required
minimum sentence shall be the guideline sentence.”); USSG § 5G1.2(a) (“[T]he sentence to be
imposed on a count for which the statute (1) specifies a term of imprisonment to be imposed; and
(2) requires that such term of imprisonment be imposed to run consecutively to any other term of
imprisonment, shall be determined by that statute and imposed independently.”).

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        Thompson has not demonstrated that his appellate counsel’s performance was

constitutionally deficient. Furthermore, Thompson fails to demonstrate Strickland prejudice with

respect to this issue.

        III.    Trial Decisions

        Thompson contends that Floyd “had two letters from both his co-defendant [Albert Kelly

(“Kelly”)] and his girlfriend [Rockelle Pichon (“Pichon”)] that refuted the testimony the

Government presented.” 42 Thompson contends that Floyd “failed to call [these] witness[es] or

any witness” and that Floyd “wait[ed] until the Saturday before trial started on Monday to finally

review the discovery.” 43 Thompson also asserts that Floyd stated “that the reason he was not

calling the witness [Pichon] was due to ‘time limitations.’” 44

        The Fifth Circuit “has repeatedly held that complaints of uncalled witnesses are not

favored in federal habeas corpus review because the presentation of testimonial evidence is a

matter of trial strategy and because allegations of what a witness would have stated are largely

speculative.” Day v. Quarterman, 566 F.3d 527, 538 (5th Cir. 2009). “Thus, to prevail on an

ineffective assistance claim based on counsel’s failure to call a witness, the petitioner must name

the witness, demonstrate that the witness was available to testify and would have done so, set out

the content of the witness’s proposed testimony, and show that the testimony would have been

favorable to a particular defense.” Id.

        Thompson’s argument with respect to Kelly is frivolous because Kelly actually testified

at trial. 45 With respect to Pichon, Thompson and Floyd made the strategic decision not to call her

as a witness. The Court questioned Thompson on the record and advised him that he had a right

42
   R. Doc. No. 346, at 17.
43
   R. Doc. No. 346, at 17.
44
   R. Doc. No. 346, at 17.
45
   See, e.g., R. Doc. No. 138, at 1; R. Doc. No. 287, at 54.

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to call Pichon to testify, but Thompson chose not to call her. 46 Thompson agreed that not calling

Pichon as a witness was his decision, not Floyd’s. 47 Thompson cannot now retract these

statements that he made in open court. See United States v. Cervantes, 132 F.3d 1106, 1110 (5th

Cir. 1998) (“‘Solemn declarations in open court carry a strong presumption of verity,’ forming a

‘formidable barrier in any subsequent collateral proceedings.’”) (quoting Blackledge v. Allison,

431 U.S. 63, 73-74 (1977)); see also United States v. Gonzalez-Archuleta, 507 F. App’x 441,



46
   The Court questioned Thompson on the record regarding this strategic decision:
                THE COURT: . . . By the way, have either of you decided what you want
       [to] do about Ms. Pichon?
                MR. FLOYD: We’ve decided the defense will not call Ms. Pichon.
                THE COURT: Let me ask you about that, Mr. Thompson.
                You understand that the document [sic] has M[s]. Pichon under subpoena,
       and I’ve asked the government to make sure she’s here in case you wanted to call
       her as a witness.
                That was discussed with your counsel, and the government did tell your
       counsel that it thought that there would be some things that might be said that are
       damaging to your case. But I don’t know that to be the case.
                And, of course, if you wish to call her for any reason whatsoever, you can
       do that. Again, that’s your choice, not your counsel’s choice. You understand
       that?
                THE DEFENDANT: Yes, sir.
                THE COURT: So you’ve had an opportunity to discuss that with Mr.
       Marion?
                THE DEFENDANT: I have, yes, sir. We were discussing that as you came
       in the door.
                THE COURT: Have you made a decision on that?
                THE DEFENDANT: Yes, sir.
                       I don’t need her.
                THE COURT: And you understand that you have a right to call her, and
       I’ll make sure she’s here to testify if you want her to testify? Do you understand
       that[?]
                THE DEFENDANT: Yes, sir.
                THE COURT: But you choose to have her not to testify? [sic]
                THE DEFENDANT: Yes, sir.
                THE COURT: That’s your decision, not your counsel’s decision; is that
       right, sir?
                THE DEFENDANT: Yes, sir.
R. Doc. No. 287, at 153-55.
47
   R. Doc. No. 287, at 155.

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442 (5th Cir. 2013)). The decision not to call Pichon was “a matter of trial strategy,” Day, 566

F.3d at 538, and Thompson, himself, made that decision after an explanation of his rights by the

Court. 48 Accordingly, Thompson has not satisfied either Strickland prong with respect to the

decision not to call Pichon.

        To the extent that Thompson is alleging some other failure to investigate, 49 under

Strickland, a petitioner “who alleges a failure to investigate on the part of his counsel must allege

with specificity what the investigation would have revealed and how it would have altered the

outcome of the trial.” United States v. Green, 882 F.2d 999, 1003 (5th Cir. 1989) (citations

omitted) (emphasis added); see also United States v. Goodley, 183 F. App’x 419, 422-23 (5th

Cir. 2006) (citing Green, 882 F.3d at 1003). Thompson has not identified any other evidence that

should have been presented and, therefore, he has not satisfied Strickland in that regard.

        To the extent that Thompson takes issue with the decision not to present any evidence, 50

the record reflects that Thompson discussed such decision with Floyd and, as the Court

instructed the jury, Thompson decided “to rest on [his] presumption of innocence [as] the

defendant is entitled to do.” 51 The Court thoroughly explained to Thompson his right to testify,

and Thompson stated that he understood that the decision was his and that he could disagree with

his lawyer. 52 He was provided the opportunity to ask the Court any questions that he may have



48
   See R. Doc. No. 287, at 153-55.
49
   See also R. Doc. No. 346, at 21 (mentioning failure to investigate in connection with ground
four).
50
   E.g., R. Doc. No. 346, at 17 (mentioning the failure to “present a defense”).
51
   R. Doc. No. 287, at 178.
52
   R. Doc. No. 287, at 152-53 (“THE COURT: . . . I want to address Mr. Thompson. Mr.
Thompson, come up to the podium, please. The government is intending to present one more
witness before it rests. Then you need to decide whether or not you’re going [to] testify or not. I
want to advise you that you have the right to testify [on] your own behalf, and that right is
your[s] and yours alone. You should obviously listen to what [your] lawyer has to say and
evaluate it . . . in determining whether or not you should testify. But you can certainly disagree

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had, and the record reflects that he declined to do so. 53 Although Thompson may now regret his

decision, he has not presented any evidence that he satisfies either Strickland factor in

connection with the decision to rest on his presumption of innocence.

       Finally, to the extent that Thompson is alleging a general lack of preparedness by Floyd,

such allegations are rejected as nonspecific and conclusory. Having presided at trial, the Court

finds that Thompson’s assertion that Floyd “failed to prepare in advance” 54 is meritless.

Accordingly, Thompson’s third asserted ground for relief is without merit.

       IV.    Failure To File a Motion to Suppress

       Thompson contends that Floyd provided ineffective assistance of counsel by failing to

file a motion to suppress a statement that he made during the search of Kelly’s residence. 55

According to testimony adduced at trial, when two DEA agents were discussing the assault rifle



with your lawyer and decide to testify, even over [your] lawyer’s objection. Of course, if you do
testify, you do understand that the government will be able to ask you about your prior felony
conviction. THE DEFENDANT: Yes, sir. THE COURT: Here in Federal court. So do you have
any questions you want to ask the Court with your right to testify? THE DEFENDANT: No, sir.
THE COURT: And you understand, if you don’t testify, I’ll instruct the jury that they cannot
hold that against you because you’re relying upon your Fifth Amendment privilege and that the
government still of course has the duty of proving your guilt beyond a reasonable doubt as to
every count. Do you understand that? THE DEFENDANT: Yes, sir. THE COURT: Have you
made a decision yet about what you’re going to do? THE DEFENDANT: No. We’re talking
about it now. THE COURT: You all talk about [it] and make your decision. If you have any
[other] questions, let me know.”); R. Doc. No. 287, at 153-55 (quoted above); R. Doc. No. 287,
at 177-78 (“THE COURT: The motion [for an acquittal] is denied. What are you going to do?
MR. FLOYD: Again, I would like a couple of minutes to discuss it with Mr. Thompson. He is
still ambivalent. (Sidebar concluded. Jury now present.) THE COURT: Counsel just needs a
couple of minutes to confer with his client, and then I’ll know how we’re going to proceed from
here. (Pause in proceedings.) . . . THE COURT: Mr. Marion. MR. FLOYD: Your Honor, the
defense rests. THE COURT: All right. The defense rests. Chooses to rest on its presumption of
innocence. Which, of course, as I told you, the defendant is entitled to do. So there is no other
additional evidence that you will hear in connection with this case. We’re going to go into
closing arguments.”).
53
   See R. Doc. No. 287, at 153.
54
   R. Doc. No. 346, at 17.
55
   R. Doc. No. 346, at 18-21.

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that was found upstairs at Kelly’s residence, Thompson “blurted out: Hey, that’s mine, he’s just

holding it for me.” 56 Thompson asserts that such statement should have been suppressed because

he “was in custody at that time and had not been [Mirandized].” 57 Thompson contends that he

“repeatedly asked Counsel Floyd to file a motion to suppress.” 58

        The Court need not address whether Floyd’s performance was deficient because

Thompson cannot demonstrate that he suffered any Strickland prejudice. The question of

whether Strickland prejudice occurs when counsel fails to file a motion to suppress a confession

allegedly obtained in violation of the Fifth Amendment “depends on whether either a

suppression motion or an objection would have been granted or sustained had it been made.”

United States v. Oakley, 827 F.2d 1023, 1025 (5th Cir. 1987); see also United States v. Allen,

No. 07-161, 2010 WL 1403959, at *6 (E.D. La. Mar. 30, 2010) (Africk, J.) (“The inquiry turns

on whether a hypothetical motion to suppress would have been successful.”) (citing Oakley, 827

F.2d at 1025); cf. United States v. Matos, 905 F.2d 30, 32 (2d Cir. 1990) (“In order to show

ineffective assistance for the failure to make a suppression motion, the underlying motion must

be shown to be meritorious, and there must be a reasonable probability that the verdict would

have been different if the evidence had been suppressed.”) (citing Kimmelman v. Morrison, 447

U.S. 365, 375 (1986)).

        Three DEA agents testified at trial that Thompson was Mirandized before making his

statement. 59 As noted by the government, the agents also “testified that Thompson blurted out



56
   R. Doc. No. 287, at 163.
57
   R. Doc. No. 346.
58
   R. Doc. No. 346, at 28.
59
   R. Doc. No. 286, at 167 (Special Agent George Cazenavette) (“A: . . . When we made our way
upstairs, there was a large sum of money strewn out across the dresser and a rifle standing in the
corner of the bedroom. Q: At that time, did you see any other weapons? A: No, sir. Q: So what
did you do next? A: We came back outside, and Albert Kelly and Eugene Thompson were

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that the rifle in question belonged to him.” 60 Thompson has not provided any evidence

whatsoever to corroborate his post-hoc assertion that he was not Mirandized before making his

statement regarding the rifle and, as discussed below in further detail in connection with ground

five, he has not identified any other witness or evidence which would suggest that the agents

were untruthful. Because Thompson has not shown that any motion to suppress would have been




handcuffed. They were brought into the residence and seated inside the residence. And they were
Mirandized. Q: What does that mean, they were Mirandize[d]? A: They were read their rights.”);
R. Doc. No. 287, at 26 (Special Agent Salvador Scalia) (“A: After I came downstairs from doing
the security sweep, I notified Special Agent Tarrh that there is some evidence upstairs. There’s a
weapon upstairs, there was a large amount of cash, there was some crack cocaine upstairs. Q:
Now, at this point, had the defendant [Thompson] and others been Mirandized? A: Yes, sir.”); R.
Doc. No. 287, at 169 (Special Agent Jamey Tarrh) (“Q: You didn’t Mirandize Mr. Thompson;
did you? A: I did not. Q: Meaning, read him his rights, his right to literally not say anything? A:
No. Special Agent Brian Hart Singleton Mirandized [him]. I did not have to. Q: And, at that
point, even though Mr. Thompson knew he had a right against self-incrimination, he blurted out
that he owned that large weapon? A: That’s correct, sir. Q: And you called it a spontaneous
utterance? A: A spontaneous utterance is what we refer to it as.”).
60
   R. Doc. No. 359, at 8; see also R. Doc. No. 287, at 27 (Agent Scalia) (“Q: And what was the
comment that Agent Tarrh made? A: The comment that Agent Tarrh made, he turned to Mr.
Albert Kelly and he said, kind of in a tongue [in] cheek way or in a rhetorical way: Hey, what are
you doing with that gun in here with all that dope? Q: What happened next? A: At that point in
time, before he had time to answer, Mr. Eugene Thompson stated: That gun’s mine. Q: Now,
were you surprised to hear that? A: I was surprised to hear that. We don’t usually get an
admission when we make arrests. We don’t usually get admissions from people admitting that
weapons are [theirs].”); R. Doc. No. 287, at 163 (Agent Tarrh) (Q: And at some point did you
make any statement or ask any questions? A: I made a statement more than a question probably.
I was talking to Agent Scalia about the weapon that was upstairs. Not out of frustration, but we
found a loaded assault weapon that defeats our vests. And I, in talking with Scalia, Agent Scalia
about that gun, I turned in the direction of Mr. Thompson and Mr. Kelly, who were seated about
five to ten feet apart on the ground, and I said something to the effect of: What are you doing
with a machine gun upstairs around all that dope and money? Q: And who were you directing
that toward? A: I wasn’t directing it toward a specific person. I was -- I did look in the direction
of Mr. Thompson and Mr. Kelly. I kind of said it in a rhetorical way. I wasn’t expecting to get a
response from anyone. Q: And did Mr. Kelly say anything? A: Mr. Kelly really didn’t have time
to say anything. Q: Why not? A: Because Mr. Thompson blurted out: Hey, that’s mine, he’s just
holding it for me. Q: What was your reaction to that? A: I was a little shocked. In my report, I
termed it a spontaneous utterance. Couldn’t really explain -- when he just blurt[ed] something
out, it came out.”).

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granted, Thompson cannot demonstrate that he suffered any Strickland prejudice and his fourth

asserted ground for relief is without merit. See Oakley, 827 F.2d at 1025.

          V.     Alleged Perjury

          Thompson asserts that “Agent Jamey Tarrh offered perjured testimony during both direct

and cross examination in the Movant’s trial without Counsel objecting to the Government’s use

of information that was obviously false.” 61 Thompson asserts that Agent Tarrh’s testimony

regarding Thompson’s statement that he owned the assault rifle “was a contradiction of [Agent

Tarrh’s] official report” in which he wrote “that Albert Kelly claimed ownership of the drugs and

firearms found in the residence.” 62 Thompson is referring to the following exchange which

occurred during Floyd’s cross-examination of Agent Tarrh:

                   Q:      But -- and I asked you, did anyone else claim the items in the
          apartment that were seized that night. You originally said: No.
                   And that’s not true; is it?
                   A:      I don’t believe that was my statement, sir.
                   I said what my statement was at the time, what was being told to me by
          the defendants is who was the owner. I realize that various people in this case
          have claimed ownership and then disclaimed ownership.
                   At the time of being inside that apartment, what was told to me by Mr.
          Thompson was that the gun was his: He [Kelly] was just holding it for me.
                   Q:      On the night of the investigation when you made your report dated
          March 3, 2011, was anyone else indicated in your report as claiming ownership of
          both the drugs and the guns?
                   MR. BOITMANN: Judge, I’m going to object at this point. The witness
          can only answer as to his personal knowledge he has.
                   THE COURT: He’s asking about what he said in his report. He’s asking --
          ask him specifically what the report says and ask if that’s his statement.
                   BY MR. FLOYD:
                   Q:      Sir, I’m going to read a line from your report.
                   After being advised of his Miranda Rights by Special Agent Singleton and
          Caz[e]navette, Kelly admitted to being the owner of all the drugs and guns located
          at the residence.
                   Did I read that correctly from your report?



61
     R. Doc. No. 346, at 22.
62
     R. Doc. No. 346, at 23.

                                                 21
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               A:     You read correctly what Special                Agent       Singleton   and
        Caz[e]navette put in their custody of evidence, yes, sir.
               Q:     But that was part of your report?
               A:     Yes sir. 63

Thompson also contends that “[t]he problem with [Agent Tarrh’s] statement [that Thompson

claimed ownership of the rifle] is no other Agent Police Officer or nor did [sic] the Co-defendant

hear this statement spoke[n] across a room.” 64 Thompson contends that Floyd “had a

professional duty to ask that the Court have this perjury corrected” and that “allowing it to go

uncorrected when it appears can be a violation of due process.” 65

        “‘To establish a due process violation based on the government’s use of false or

misleading testimony, a petitioner must show (1) that the witness’s testimony was actually false,

(2) that the testimony was material, and (3) that the prosecution knew the witness’s testimony

was false.’” Isaac v. Cain, 588 F. App’x 318, 327 (5th Cir. 2014) (quoting Fuller v. Johnson,

114 F.3d 491, 496 (5th Cir. 1997)). “Conflicting or inconsistent testimony is insufficient to

establish perjury.” Kutzner v. Johnson, 242 F.3d 605, 609 (5th Cir. 2001) (citing Koch v. Puckett,

907 F.2d 524, 531 (5th Cir. 1990)). “[C]ontradictory trial testimony . . . merely establishes a

credibility question for the jury.” Koch, 907 F.2d at 531 (citing Little v. Butler, 848 F.2d 73, 76

(5th Cir. 1988)).

        Agent Tarrh’s testimony conflicted with other information from Agents Singleton 66 and

Cazenavette which was contained in Agent Tarrh’s written report. Floyd cross-examined Agent

Tarrh regarding this conflict and read the relevant portion of the report to Agent Tarrh before the




63
   R. Doc. No. 287, at 174-75.
64
   R. Doc. No. 346, at 23.
65
   R. Doc. No. 346, at 23.
66
   Agent Singleton did not testify at trial. See, e.g., R. Doc. Nos. 135, 138.

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jury. The government also called Agent Scalia to testify as to Thompson’s statement 67 and, as

noted previously, their recollections of Thompson’s admission are substantially similar.

Furthermore, the government also called Agent Cazenavette, who testified that he never heard

Thompson make any statement regarding the rifle, 68 and that Kelly claimed ownership of the

weapons. 69

        Any conflicting testimony “merely establishe[d] a credibility question for the jury,”

Koch, 907 F.2d at 531, and the jury apparently resolved that credibility question against

Thompson. Such a conflict “is insufficient to establish perjury.” Kutzner, 242 F.3d at 609.

Accordingly, Thompson has not met his burden of proof relative to the alleged due process

violation. Thompson’s fifth asserted ground for relief is without merit as Thompson has failed to

establish either Strickland prong. 70




67
   R. Doc. No. 287, at 27.
68
   R. Doc. No. 286, at 211 (“THE COURT: Did you hear the defendant make any statements to
which you’ve testified? THE WITNESS: I did not hear him [Thompson] make the statement
about the gun. I wasn’t [sic] the two agents that were involved in the conversation when that took
place. THE COURT: So he really can’t testify to that. . . . So that testimony as to what the
defendant [Thompson] said with respect to the rifle should be disregarding by the jury until we
have a proper evidentiary foundation for such a statement if ever.”)
69
   R. Doc. No. 286, at 208 (“Q: Oh, by the way, Mr. Kelly, Albert Kelly, the owner of the
apartment, claimed that the drugs and weapons in the apartment were his; didn’t he? A: Yes, he
did.”).
70
   The Court notes that the government’s written opposition does not contain any argument
specifically directed to Thompson’s fifth asserted ground for relief. The Court has been advised
that this was an inadvertent omission and that the government opposes this ground as well. The
Court also notes that the government’s position regarding the truthfulness of Agent Tarrh’s
testimony is abundantly clear from its opposition and from the trial transcript.

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                                          CONCLUSION

       For the foregoing reasons, the motion, files, and record of the case conclusively show that

defendant is not entitled to relief. Accordingly,

       IT IS ORDERED that the motions are DENIED and defendant’s application for post-

conviction relief pursuant to 28 U.S.C. § 2255 is DISMISSED WITH PREJUDICE.



       New Orleans, Louisiana, July 8, 2015



                                                    _______________________________________
                                                              LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE




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